

Matter of Gil (2023 NY Slip Op 06787)





Matter of Gil


2023 NY Slip Op 06787


Decided on December 28, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 28, 2023

PM-281-23
[*1]In the Matter of Andres Gil, an Attorney. (Attorney Registration No. 4901146.)

Calendar Date:December 18, 2023

Before:Egan Jr., J.P., Lynch, Clark, McShan and Powers, JJ.

Andres Gil, Eugene, Oregon, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Andres Gil was admitted to practice by this Court in 2011 and lists a business address in Eugene, Oregon with the Office of Court Administration. Gil now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Gil's application.
Upon reading Gil's affidavit sworn to November 7, 2023 and filed November 13, 2023, and upon reading the December 14, 2023 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Gil is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Lynch, Clark, McShan and Powers, JJ., concur.
ORDERED that Andres Gil's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Andres Gil's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Andres Gil is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Gil is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Andres Gil shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








